   Case 19-31409-KLP              Doc 14      Filed 04/19/19 Entered 04/19/19 16:09:37         Desc Main
                                              Document     Page 1 of 1
                                      United States Bankruptcy Court
                                        Eastern District of Virginia
                                             BBBBBBBBBBBBBBBB'LYLVLRQ
                                                 Richmond

In re: Vincent Damion
                      Newby,
                           Jr.                                      Case NumberBBBBBBBBBBBBBBBB
                                                                                     19-31409-KLP
                                                                        BBB
                                                                        Chapter 13
       Debtor(s)

                                          ORDER SETTING HEARING

TO:                     
          Debtor(s) Vincent   
                              Damion    Jr. 9525 Brant Lane Glen Allen, VA 23060
                                     Newby,

         Attorney for Debtor(s)           
          Trustee Suzanne E. Wade, P.O. Box 1780, Richmond, VA 23218-1780
          United States Trustee 701 E. Broad      St., Suite 4304, Richmond, VA   23219

7KH&OHUNKDVGHWHUPLQHGWKDWWKHDERYHFDSWLRQHGGHEWRU V KDVKDYHIDLOHGWRFXUHFHUWDLQ
GHILFLHQF\ LHV LQWKLVFDVH7KHUHIRUHDKHDULQJZLOOEHKHOG

Date:         May 22, 2019
Time:         10:00 AM
Location: U. S. Bankruptcy Court, U. S. Courthouse, 701 E. Broad St., Room 5100, Richmond, VA 23219

7KHGHEWRU V VKDOODSSHDUDWWKHKHDULQJDQGH[SODLQZK\WKHEDQNUXSWF\FDVHVKRXOGQRWEH
GLVPLVVHGIRUIDLOXUHWRWLPHO\FXUHWKHIROORZLQJGHILFLHQF\ LHV DQGDQ\RWKHUGHILFLHQF\ LHV RU
FHUWLILFDWLRQVWKDWDFFUXHEHIRUHWKHKHDULQJ

Failure  to timely file Chapter 13 Plan
Failure to timely file Lists, Schedules and/or Statements
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
If the debtor(s) fails to appear at the hearing, the above-captioned case will be dismissed.
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127,&(Even if the debtor(s) files the required document(s) or makes the required payment(s),
the debtor(s) must still attend the hearing to explain why he/she/they failed to do so timely.
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127,&(,6)857+(5*,9(1WKDWDQRXWVWDQGLQJEDODQFHRIWKHILOLQJIHHLQWKHDPRXQWRI
BBBBBBBBBLVGXHDQGRZLQJWRWKH&OHUNRI&RXUWSD\DEOHDVIROORZV
   310.00
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       ✔       115.00        4/29/19       100.00         6/6/19           95.00        7/16/19

'DWHGBBBBBBBBBBBBBBBBBBBBBBB
       April 19, 2019                            William C. Redden, Clerk
                                                   United States Bankruptcy Court

                                            By:BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                        /s/: N. Bullock
                                                                   Deputy Clerk

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                                                                                  April 19, 2019    
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